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AO 472 Order of Detention Pending Trial


                                             United States District Court
                                                WESTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA                                                    ORDER OF DETENTION
V.                                                                          PENDING TRIAL
Demond Shonte Atkins                                                        Case Num ber: 1:05 CR 96-06

         In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following
facts require the detention of the defendant pending trial in this case.

                                                          Part I – Findings of Fact
            (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a          federal
                offense      state or local offense that would have been a federal offense if a circumstance giving rise to federal
                jurisdiction had existed – that is
                     a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
                     an offense for which the maximum sentence is life imprisonment or death.
                     an offense for which a maximum term of imprisonment of ten years or more is prescribed in

                     A felony that was committed after the defendant had been convicted of two or more prior federal offenses described
                     in 18 U.S.C. § 3142(f)(1)(A)-(C), or comparable state or local offenses.
            (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state
                or local offense.
            (3) A period of not more than five years has elapsed since the G date of conviction G release of the defendant from
                imprisonment for the offense described in finding (1).
            (4) Findings Nos. (1),(2) and (3) establish a rebuttable presumption that no condition or combination of conditions will
                reasonably assure the safety of (an) other person(s) and the community. I further find that the defendant has not
                rebutted this presumption.

                                                          Alternate Findings (A)
            (1) There is probable cause to believe that the defendant has committee an offense
                      for which a maximum term of imprisonment of ten years or more is prescribed in .
                      under 18 U.S.C. § 924(c).
            (2) The defendant has not rebutted the presumption established by finding (1) that no condition or combination of conditions
                will reasonably assure the appearance of the defendant as required and the safety of the community.

                                                          Alternate Findings (B)
     ✘      (1) There is a serious risk that the defendant will not appear.
     ✘      (2) There is a serious risk that the defendant will endanger the safety of the community and attempt to obstruct justice.


                                           Part II – W ritten Statement of Reasons for Detention
            I find that the credible testimony and information submitted at the hearing establish by clear and convincing evidence that

     defendant is a 26-year-old man with no significant employment history and no stable residence. He falsely told the PTS officer that
     he lives with his girlfriend. In fact, his girlfriend left town 8 months ago. His criminal record includes a felony crime of violence
     (assault w/i GBH 1997) and two felony controlled substance convictions (2000 and 2004). Defendant has a documented history
     of probation violation and committing new crimes while on parole. He has a 1999 FTA, and was on probation at the time of the
     current offense. 18 USC sec. 3142(g)(3)(B). On November 14, 2005, police found him and his companions in possession of a
     large amount of cash and heroin. Defendant attempted to bribe a Benton Harbor Police Officer to avoid being charged.
     Defendant's serious history of probation and parole violations demonstrates that he will not abide by conditions of bond, and
      his attempt to bribe an officer demonstrates a serious risk of obstruction of justice. 18 USC sec. 3142(f)(2)(B).


                                               Part III – Directions Regarding Detention
         The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a
corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of
the United States or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the
defendant to the United States marshal for the purpose of an appearance in connection with a court proceeding.

November 29, 2005                                                  /s/ Joseph G. Scoville
Date                                                               Signature of Judge


                                                                    Joseph G. Scoville, United States Magistrate Judge
                                                                   Name and Title of Judge
